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                       UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
ADAN MELVIN GALINDO GOMEZ,           )
a/k/a ADAN GALINDO                   )
                                     )
                  Plaintiff,         )
                                     )
       v.                            )  Civil Action No. 19-3456 (ABJ)
                                     )
UNITED STATES CITIZENSHIP            )
AND IMMIGRATION SERVICES,            )
                                     )
                  Defendant.         )
____________________________________)


                                         ORDER

       Pursuant to Federal Rule of Civil Procedure 58 and for the reasons stated in the

accompanying Memorandum Opinion, it is hereby ORDERED that:

       Defendant’s motion to dismiss [Dkt. # 15] is GRANTED; plaintiff’s motion for partial

summary judgment [Dkt. # 13] and renewed motion for partial summary judgment [Dkt. # 19] are

DENIED; and defendant’s alternative motion to transfer [Dkt. # 15] is DENIED AS MOOT.

This is a final appealable order.

       SO ORDERED.




                                          _______________________
                                          AMY BERMAN JACKSON
                                          United States District Judge

DATE: November 13, 2020
